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EXHIBIT 2
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Your Stay Hampton Inn Chicago Downtown/N Loop/Michigan Ave — &} Mon, Dec 9 — Fri, Dec 13, 2024 (4 nights) p® troomfortadult Edit Stay

Step 2 of 3

Select a Rate Meese Me ers

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Prices shown are average per night. Select currency @® USD - US Dollar
Hampton Inn Chicago Downtown/N
Honors Escape and Explore Loop/Michigan Ave
68 E. Wacker Place
$93 Rate details > Honors Discount Chicago, Illinois 60601 USA a
Stay 3 or more nights and save up to 20% off. Hilton Honors Membership Not available Hotel details >
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1 King Nonsmoking
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Flexible Rate Honors Discount

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Change or cancel up to 1 day before arrival. Free breakfast.

$117 Rate details > $110 Rate details >

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Change or cancel up to 5 days before arrival. Free breakfast.

$110 Rate details > $108 Rate details >

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Free breakfast. No cancellations. Pay now.

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Step 3 of 3 ;
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Total for stay $440.48

Hide price details

Price in $USD

1 King Nonsmoking

Honors Escape and Explore Hampton Inn Chicago Downtown/N

09 Dec 2024 $93.60 Loop/Michigan Ave

10 Dec 2024 $92.00 68 E. Wacker Place

11 Dec 2024 $92.00 Chicago, Illinois 60601 USA

12 Dec 2024 $97.60 Hotel details >

Total room charge $375.20

1 King Nonsmoking
1/740 % per room, per night Change Room
Total taxes $65.28

Honors Escape and Explore

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Total for stay: $440.48

Payment and Guest Details

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